Case 8:11-cv-00485-DOC-RAO Document 904 Filed 08/26/20 Page 1 of 2 Page ID #:30376




                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

   Case No. SA CV 11-00485-DOC-(RAOx)                                Date: August 26, 2020

   Title: LISA M. OSTELLA v. ORLY TAITZ


   PRESENT:

                      THE HONORABLE DAVID O. CARTER, JUDGE

                  Kelly Davis                                    Not Present
                Courtroom Clerk                                 Court Reporter

         ATTORNEYS PRESENT FOR                         ATTORNEYS PRESENT FOR
               PLAINTIFF:                                   DEFENDANT:
              None Present                                   None Present


          PROCEEDINGS (IN CHAMBERS): ORDER DENYING MOTION TO
                                     VACATE ORDER OF DISMISSAL
                                     AND/OR WITHDRAW
                                     PLAINTIFF’S CONSENT TO THE
                                     SETTLEMENT AGREEMENT [874]

          Before the Court is Plaintiff Lisa Liberi’s (“Plaintiff”) Motion to Vacate Order of
   Dismissal and/or Withdraw Plaintiff’s Consent to the Settlement Agreement (“Motion”)
   (Dkt. 874). The Court finds this matter appropriate for resolution without oral argument.
   See Fed. R. Civ. P. 78, C.D. Cal. R. 7-15. The Court now DENIES the Motion.

           The Court sees no need to rehearse the decade-long factual and procedural history
   of this case to resolve the instant Motion, and as such will turn directly to the merits.

          In his Order re: Motions for Summary Judgment (“MSJ Order”) (Dkt. 841), then-
   Judge Guilford wrote, “Like so many poorly presented cases, the outcome of this case is
   dictated by the burden of proof.” MSJ Order at 2. This is equally true of the instant
   Motion. Plaintiff argues that there are “extraordinary circumstances” to justify relief
   under Federal Rule of Civil Procedure 60(b)(6) and that the Court should therefore
   withdraw Plaintiff’s consent to the prior settlement agreement in this matter. See Mot. at
   16. Despite bombarding the Court with thousands of pages of web links, screenshots,
Case 8:11-cv-00485-DOC-RAO Document 904 Filed 08/26/20 Page 2 of 2 Page ID #:30377
                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES – GENERAL

    Case No. SA CV 11-00485-DOC-RAO                                          Date: August 26, 2020
                                                                                            Page 2


   court filings, etc., Plaintiff has produced not even the slightest evidence that Defendant
   has violated the settlement agreement or republished any offending posts. (Defendant, for
   her part, represents that she has fully complied with the settlement agreement and deleted
   all offending posts within her control. See Opp’n (Dkt. 900) at 17.) Because Plaintiff has
   failed to demonstrate extraordinary circumstances to merit relief, the Court denies the
   Motion in its entirety.

           The Court additionally notes that the Motion could be summarily denied. On June
   14, 2011, Judge Guilford imposed a filing restriction on all parties to this action. Dkt. 227
   at 9 (“The Court now ORDERS all parties to seek leave of Court before filing any
   motions or other documents in this case. . . . Failure to comply with the letter and
   spirit of this order may result in sanctions, including the summary denial of
   improperly requested motions . . . .”). Plaintiff did not seek leave in accordance with
   the restriction, and filed the instant Motion—along with thousands of pages of exhibits—
   without the Court’s permission. Merits aside, Plaintiff’s flagrant noncompliance further
   justifies denial of her Motion. (Moreover, had Plaintiff sought leave to file, the Court
   would have denied leave, consistent with Judge Guilford’s repeated denials of similar
   requests.)

           For the reasons discussed above, the Court DENIES Plaintiff’s Motion. At this
   point, the Court observes that Judge Guilford entered summary judgment (Dkts. 841,
   842) and denied reconsideration (Dkt. 861) in this action almost two years ago; these
   rulings were subsequently affirmed by the Ninth Circuit (Dkt. 872). As Judge Guilford
   wrote in his denial of reconsideration, “the Court thought this dispute was over.”
   Dkt. 861 at 1. While Judge Guilford was regrettably mistaken at the time, this dispute is
   now undoubtedly over, and the Court warns the parties against filing anything further in
   this matter.

          The Clerk shall serve this minute order on the parties.

    MINUTES FORM 11                                                   Initials of Deputy Clerk: kd

    CIVIL-GEN
